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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION


RODERICK CLARK MILLER                                                                     PLAINTIFF

VERSUS                                                   CIVIL ACTION NO. 1:07cv541LG-JMR

HARRISON COUNTY, MISSISSIPPI, by and through
its Board of Supervisors, HARRISON COUNTY
SHERIFF DEPARTMENT, SHERIFF GEORGE
PAYNE, officially and in his individual capacity,
DIRECTOR OF CORRECTIONS MAJOR DIANNE
GATSON-RILEY, officially and in her individual
capacity, BOOKING SUPERVISOR CAPTAIN RICK
GASTON, officially and in his individual capacity,
TRAINING DIRECTOR CAPTAIN PHIL TAYLOR,
officially and in his individual capacity, CENTRAL
CONTROL OFFICER PRESTON WILLS, officially
and in his individual capacity, BOOKING ROOM DEPUTY
JERRED MARK NECAISE, officially and in his individual
capacity, BOOKING ROOM DEPUTY CATHERINE
PAVOLINI, officially and in her individual capacity,
AMERICAN CORRECTIONAL ASSOCIATION, and
OTHER UNKNOWN JOHN and JANE DOES A-Z, also in
their official and individual capacities                                              DEFENDANTS


       MOTION TO EXTEND THE EXPERT DESIGNATION DEADLINE FOR
      DEFENDANTS SHERIFF GEORGE PAYNE, JR., IN HIS OFFICIAL AND
   INDIVIDUAL CAPACITIES, HARRISON COUNTY SHERIFF’S DEPARTMENT,
   DIANNE GATSON-RILEY, IN HER OFFICIAL AND INDIVIDUAL CAPACITIES,
        PHIL TAYLOR, IN HIS OFFICIAL AND INDIVIDUAL CAPACITIES,
    CATHERINE PAVOLINI, IN HER OFFICIAL AND INDIVIDUAL CAPACITIES,
          AND PRESTON WILLS, IN HIS OFFICIAL CAPACITY ONLY


        COME NOW Defendants, Sheriff George Payne, Jr., in his official and individual

capacities, Harrison County Sheriff’s Department, Dianne Gatson-Riley, in her official and

individual capacities, Phil Taylor, in his official and individual capacities, Catherine Pavolini, in

her official and individual capacities, and Preston Wills, in his official capacity only, by and through
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their attorneys, Dukes, Dukes, Keating & Faneca, P.A., and moves the Court for an Order extending

the expert designation deadline for these Defendants, and in support would show the following:

                                                I.

       On April 16, 2007, Plaintiff filed this cause of action, and on October 12, 2007, these

moving Defendants filed their Answer, Defenses and Affirmative Defenses.

                                               II.

       On October 25, 2007, a Telephonic Case Management Conference was held before the

Court, and attended by counsel for the parties. Pursuant to the Federal Rules of Civil Procedure,

the parties’ Pre-Discovery Disclosures were due no later than November 8, 2007. Also, on October

25, 2007, this Court entered its Scheduling Order setting the discovery deadline for June 6, 2008;

the deadline for filing Plaintiff’s experts by February 8, 2008; and the deadline for filing

Defendant’s experts by expert by March10, 2008. See Scheduling Order, DN 25.

                                               III.

       Defendant George Payne’s First Set of Interrogatories and Requests for Production of

Documents, and Defendant Phil Taylor’s First Set of Interrogatories were propounded to the

Plaintiff on or about November 15, 2007. Notices of said discovery requests are attached

collectively hereto as Exhibit “A”. Responses to said discovery were due on or about December

17, 2007.    During this time Defendants’ counsel also contacted Plaintiff’s counsel by

correspondence dated November 20, 2007, requesting Plaintiff’s Pre-Discovery Disclosures and

Plaintiff’s Discovery Responses as evidenced by the attached Exhibit “B”.

                                               IV.

       On January 7, 2008, a good faith effort was made to resolve this discovery dispute pursuant

to uniform District Court Rule 37.1. See Good Faith Certificate and correspondence attached hereto

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as Exhibit “C”. As stated in the affidavit, attached hereto as Exhibit “D,” on January 7, 2008,

counsel for the Defendants mailed a Good Faith Certificate to Plaintiff, but never received a

response.

                                                 V.

       On January 17, 2008 Defendants filed a Motion to Compel Plaintiff’s Pre-Discovery

Disclosures and Responses to Interrogatories and Requests for Production of Documents [DN 31]

which resulted in an Order from the Court granting Defendants’ Motion to Compel and ordering

Plaintiff to fully respond to propounded discovery and provide pre-discovery disclosure on or prior

to February 8, 2008. See Court’s Text Order, signed January 22, 2008.

                                                VI.

       On February 8, 2008, Plaintiff still did not provide the discovery responses nor the Pre-

Discovery Disclosures, but rather filed a Motion to Continue Discovery [DN 33] for one week. As

stated in said motion, Defendants herein objected to said motion.

                                                VII.

       Plaintiff wholly and fully failed to timely provide these Defendants with his Pre-Discovery

Disclosures and failed to respond to the Interrogatories and Requests for Production of Documents

propounded to him, until February 15, 2008. Although Plaintiff had finally provided his responses

to Defendant’s discovery, he failed to supply Defendants with the medical authorization, tax form

authorization, request for release of social security information and release for employment

information as requested in the discovery requests. On February 22, 2008, counsel for Defendants

wrote counsel for Plaintiff and requested that these releases be forwarded within five business days.

See attached Exhibit “E”. Defendants finally received them on the fifth business day. Therefore,

due to Plaintiff’s failure to timely and adequately respond to Defendants’ discovery requests and

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failure to provide all necessary authorizations, Defendants are prejudiced by the fact that they are

not in a position to fully evaluate Plaintiff’s case, as well as determine whether other individuals

should be deposed, to enable the Defendants to obtain and review all necessary information

necessary to forward to their experts prior to the designation of expert deadline.

                                                VIII.

         On February 29, 2008 (approximately six business days before Defendants’ expert

designation), Defendants were finally able to schedule and depose the Plaintiff. This was

Defendants’ first available opportunity to obtain the Plaintiff’s own testimony regarding his claims,

and new information emerged regarding his alleged claims and injuries. Defendants will thus need

additional time to obtain information (medical and otherwise) and to provide this information to

the Defendants’ experts prior to their designation and opinions.           Without this additional

information, Defendants are unable to designate their experts according to the Court’s Scheduling

Order.

                                                IX.

         Additionally, the Harrison County Board of Supervisors must approve the use of experts in

this matter, and authorize the pre-payment of any fees that an expert may require, and this can only

be done at a regularly scheduled Board of Supervisors meeting. Due to Plaintiff’s delinquent

discovery responses, and failure to provide all necessary authorizations for release of information,

Defendants have not been able to obtain the necessary facts and information in order timely request

the approval and pre-payment of certain fees necessary for preferred experts from the Board of

Supervisors. Therefore, Plaintiff’s untimely response has not only effected counsel for Defendant’s

evaluation of the case, but has also effected their ability to obtain timely approval and pre-payment

of fees for the needed experts.

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                                                 X.

       These Defendants have not requested any other extensions of time to file their expert

designation and do so here in good faith and not with the intent to cause prejudice to the Plaintiff

and his cause of action.

                                                XI.

       This Motion is unopposed by Plaintiff.

       WHEREFORE, Defendants file this Motion and request that the Court enter an Order

extending the expert designation deadline for these Defendants to a date that will provide the

greatest possible time, without changing the trial date of this cause of action.

       RESPECTFULLY SUBMITTED, this the 5th day of March, 2008.

                                       SHERIFF GEORGE PAYNE, JR., HARRISON
                                       COUNTY SHERIFF’S DEPARTMENT, DIANNE
                                       GATSON-RILEY, PHIL TAYLOR, CATHERINE
                                       PAVOLINI, ALL IN THEIR INDIVIDUAL AND
                                       OFFICIAL CAPACITIES, AND PRESTON WILLS, IN
                                       HIS OFFICIAL CAPACITY ONLY, DEFENDANTS

                                       DUKES, DUKES, KEATING & FANECA, P.A.



                                       BY:       /s/Cy Faneca
                                               CY FANECA, MSB #5128


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                                CERTIFICATE OF SERVICE

       I, CY FANECA, do hereby certify that I have this day delivered, via electronic filing and/or
United States Mail, postage fully pre-paid, a true and correct copy of the above and foregoing
pleading to the following:

       Michael W. Crosby, Esq.
       2111 25th Avenue
       Gulfport, Mississippi 39501

       Joseph Meadows, Esq.
       Karen Young, Esq.
       Post Office Drawer 550
       Gulfport, Mississippi 39502

       James L. Davis, III
       Post Office Box 1839
       Gulfport, Mississippi 39502

       George D. Hembree, III
       Post Office Drawer 22949
       Jackson, Mississippi 39225-2949

       THIS, the 5th day of March, 2008.


                                              s/Cy Faneca
                                              CY FANECA
                                              JON TINER




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